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AO 440 (Rev. 06/12) Summons ina Civil Action

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ta
IQUE A-GUHERREZ | \

Plaintiffis) —

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Civil Action No. 6:23-cv-00650-PGB-RMN

DENEFITS, LLC

Nee ee ee ee ee ee Oe

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) DENEFITS, LLC
cio REGISTERED AGENT
PETER NGUYEN
16500 BAKE PKWY
IRVINE, CA 92618

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
_ P12 (a)(2) or (3).— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Franklin A. Jara

Sulaiman Law Group, LTD.

2500 South Highland Avenue Suite 200
Lombard, Illinois 60148

if you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

:

Date: April 11, 2023

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UNITED STATES DISTRICT COURT

for the .

Middle District of Florida i
MONIQUE A. GUTIERREZ )
)
Plaiauitf )

) Civil Action No. 6:23-cv-00640-PGB-
, RMN .
}
DENEFITS, LLC °

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Defe nde
"AFFIDAVIT OF SERVICE :

[. James Stoner, being duly sworn, state:
fam 18 years or older and not a party to this action. am a certified or appointed process server in the county
in which this defendant or witness was served. :

I received the following documents on April 12, 2023 at 5:26 am. I served these documents with my initials,
identification number, and the date and hour of service endorsed thereon on Denefits, Inc in Orange County,
CA on April 14, 2023 at 11:51 aim at 165060 Bake Pkwy, Irvine, CA 92618 by leaving the following
documents with Charlotte Roldah who as Office Manager is authorized by appointment or by law to receive
service of process for Denefits, Inc. ¥
Summons
Compfaint

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Additional Description: .
CORPORATE SERVICE: I served oo explained the contents to an employee of the defendant Corporation
failing to comply with F.S. 48.091 in the as asence of the registered agent or any superior officers pursuant to
FS. 48,081 G ya)

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I served the summons and all supporting documents to office manager, Charlotte Roldan, the person in
charge. She accepted service.

White Female, est. age 35, glasses: Y, Brown hair, 140 ibs to 160 Ibs, 3°3" to 5’ 6".
Geolocation of Serve: hitps: Heoogle. com maps 2q= =33.6358074,-117,7419187

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Proof Job #272987 j Paul Pankiewiez : Page |

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Photograph: See Exhibit | .
I DECLARE WNDER PENALTY OF PERJURY THAT | HAVE READ THE FOREGOING AFFIDAVIT
OF SERVICE, AND THE FACTS HEREIN ARE TRUE AND CORRECT. Notary not required pursuant to
Florida Statute 92.525.

a
4
/s/ Jas ned Stoner ”
Executed in Sienalure ‘ :
Orange County James Stoner
PSC6282

CA on 4/79/2023 . (949) 423-6915

a 2226 Private Rd, Newport Beach, CA 92660

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